                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               Case No. 7:23-cv-01177-FL


     Clementine Brown,                             )
                                                   )
                    Plaintiff(s),                  )
           V.                                      )
                                                   )
     Steadman Jody Greene, et                      )
      '
                    Defendant(s).                  )


 DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
DIRECT FINANCIAL INTEREST IN LITIGATION AND ATTRIBUTED CITIZENSHIP

Pursuant to Fed. R. Civ. P. 7.1 and Local Civil Rule 7.3 , or Fed. R. Crim. P. 12.4 and Local
Criminal Rule 12.3,

William Rogers             who is Defendant
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                                                           '
(name of paiiy/intervenor)         (plaintiff/defendant/other:- - -~

makes the following disclosure:

1. Is the pa1iy/intervenor a publicly held corporation or other publicly held entity?

     YES        Q                      NO@

2.    Does the paiiy/inte1venor have any parent corporations?

     YES        Q                      NO@

If yes, identify all parent corporations, including grandpai·ent ai1d great-grandpai·ent corporations:



3. Is 10% of more of the stock of the party/intervenor owned by a publicly held corporation or
   other publicly held entity?

     YES        0                      NO@

If yes, identify all such owners:




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4. Is there any other publicly held corporation or other publicly held entity that has a direct
   financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal 12.3)?

   YES      Q                         NO@
5. Is the party/intervenor a trade association?

   YES      Q                         NO@
If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more of a member' s stock:


6. If the case arises out of a bankrnptcy proceeding, identify any trustee and the members of any
   creditor's committee:
NIA

7. In a case based on diversity jurisdiction, the following is a list of eve1y individual or entity
   whose citizenship is attributed to the paity/intervenor:


   (Name of individual/entity)                                (State of citizenship)


   (Name of individual/entity)                                (State of citizenship)


   (Name of individual/entity)                                (State of citizenship)


   (Name of individual/entity)                                (State of citizenship)


   (Name of individual/entity)                                (State of citizenship)


   (Name of individual/entity)                                (State of citizenship)

   If there are additional individuals or entitles who citizenship is attributed to the
   paity/intervenor, please provide their names and states of citizenship on a sepai·ate piece of
   paper.


                                      Signature: Isl Christopher J. Geis

                                      Date:       September 14, 2023

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                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he is an attorney at law licensed to
practice in the State of North Carolina, is attorney for defendants (Columbus County
Sheriff William Rogers and Western Surety Company) in this matter, and is a person
of such age and discretion as to be competent to serve process.

      I hereby certify that on September 14, 2023, I electronically filed the foregoing
DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES
WITH A DIRECT FINANCIAL INTEREST IN LITIGATION AND
ATTRIBUTED CITIZENSHIP with the Clerk of Court using the CM/ECF system
which will also send an email notification to the following :

      ADDRESS:

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      Attorneys for Plaintiff


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                                              Rogers and Western Surety Company




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